      Case3:05-cr-00375-SI
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 1   BARRY J. PORTMAN
     Federal Public Defender
 2   JOSH COHEN
     Assistant Federal Public Defender
 3   19th Floor Federal Building
     450 Golden Gate Avenue
 4   San Francisco, CA 94102
     (415) 436-7700
 5
     Counsel for Defendant BARNLA
 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )             No. CR-05-0375 SI
                                           )
12                      Plaintiff,         )             STIPULATION AND [PROPOSED]
                                           )             ORDER TO CONTINUE APPEARANCE
13         v.                              )             DATE
                                           )
14   ASA BARNLA, et al.,                   )
                                           )
15                      Defendants.        )
     _____________________________________ )
16

17          Defendant Asa Barnla is one of several defendants charged in a conspiracy to distribute

18   marijuana. The parties have engaged in settlement negotiations and are scheduled to appear for

19   change of plea on November 2, 2005. The government has requested an additional week to

20   prepare the necessary paperwork, and the defense has no objection to the proposed continuance.

21   Accordingly, having conferred with the Court’s deputy, the parties agree and stipulate that the

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     CR 05-0375 SI; STIP TO CONTINUE
     APPEARANCE                                      1
      Case3:05-cr-00375-SI
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 1   change-of-plea hearing presently scheduled for Wednesday, November 2, 2005 shall be

 2   continued to Wednesday, November 9, 2005 at 11:00 AM.

 3            IT IS SO STIPULATED.

 4   Dated:                                                __________/S/_________________
                                                           BARRY J. PORTMAN
 5                                                         Federal Public Defender
                                                           JOSH COHEN
 6                                                         Assistant Federal Public Defender

 7
     Dated:                                                ________/S/____________________
 8                                                         KEVIN V. RYAN
                                                           United States Attorney
 9                                                         ANDREW SCOBLE
                                                           Assistant United States Attorney
10

11          I hereby attest that I have on file all holograph signatures for any signatures indicated by a
     "conformed" signature (/S/) within this e-filed document.
12

13            Accordingly, and for good cause shown, the change-of-plea hearing presently scheduled

14   for November 2, 2005 shall be continued to Wednesday, November 9, 2005 at 11:00 AM.

15                                                                           ISTRIC
                                                                        TES D      TC
16   IT IS SO ORDERED.                                                TA



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17                                                                                 D
                                                                            RDERE
                                                            UNIT




                                                                       SO O
18   Dated:                                                      IT IS
                                                           __________________________________


                                                                                                      R NIA
                                                           SUSAN ILLSTON
19                                                         UNITED STATES DISTRICTn JUDGE
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22                                                                                  R
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     CR 05-0375 SI; STIP TO CONTINUE
     APPEARANCE                                        2
